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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

______________________________
                              )
BETTY GENE ALI,               )
                              )
          Plaintiff,          )
                              )
     v.                       )     Civil Action No. 02-2271 (RWR)
                              )
MID-ATLANTIC SETTLEMENT       )
SERVICES, INC., et al.,       )
                              )
          Defendant.          )
______________________________)

                   MEMORANDUM OPINION AND ORDER

     Plaintiff Betty Gene Ali has moved for reconsideration of

the order denying sanctions in the form of attorney’s fees and

expenses incurred in preparing and litigating her motion for

default judgment against defendant Anthony Noble.        Ali has also

moved to certify an interlocutory appeal from the decision to

permit Noble to file a verified answer to avoid a default

judgment.

     Ali’s motion for reconsideration will be granted.         Upon

reconsideration, because Noble’s actions that prompted Ali’s

motion for default judgment and the ensuing litigation were

willful and repeated, and caused unnecessary delay and cost in

violation of Rule 11 of the Federal Rules of Civil Procedure,

monetary sanctions will be imposed on Noble.       Because the law in

this circuit overwhelmingly favors a trial on the merits over a

default judgment, there is no controlling issue of law for which
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there is a substantial ground for a difference of opinion, and

Ali’s motion for certification of an interlocutory appeal will be

denied.

                                    BACKGROUND

       Ali sued Noble and others1 alleging that she was the victim

of a fraud scheme in which Noble’s stepfather induced Ali to sell

her home to Noble at a value below market price, and then failed

to deliver the money.          Ali served Noble on November 13, 2002 and

twice thereafter.         When Noble did not respond after having been

served three times, Ali sought and received an entry of default

and then filed a motion for default judgment.             (See Dkt. 33, 35,

36.)

       Because Noble did not respond to Ali’s motion, an order

issued on August 13, 2004 directing Noble to show cause why Ali’s

motion for default judgment should not be granted.              In response,

Noble filed a motion to set aside entry of default.              (See

Dkt. 39.)        His motion asserted the bare legal conclusion that he

had not been personally served, but it failed to address Ali’s

allegations about service with factual particularity and it

failed to include a verified answer as is required by Local Civil

Rule 7(g).        Ali opposed Noble’s motion to set aside default entry

and filed a notice of intent to seek sanctions if Noble did not



       1
      Two other defendants have been voluntarily dismissed from
this case.
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amend his assertions that he had never been served.           (See

Dkt. 42, 44.)     In an order dated November 24, 2004, Noble was

directed to respond further to the show cause order and to

specifically answer all of Ali’s factual allegations about

service upon Noble.      Noble filed a memorandum, affidavit, and

exhibits in response.       (See Dkt. 46, 47, 48.)     Noble’s affidavit

was a picture of “studied ambiguity” and “almost contemptuously

non-compliant, reciting spare and selective facts[.]”            Mem. Op. &

Order, Jan. 6, 2006 (“Mem. Op.”) at 18.         Ali filed documents

countering Noble’s arguments and factual contentions and a motion

for sanctions under Rule 11, claiming that Noble’s assertions

lacked evidentiary support, were not warranted on the evidence,

and were intended to and had the purpose of causing unnecessary

delay and needless increase to the cost of litigation.            (See

Dkt. 50, 51.)     Only after being ordered to do so by yet another

show cause order entered February 4, 2005 did Noble respond to

Ali’s motion for sanctions.       (See Dkt. 52, 53, 54.)      Ali made

arguments and submitted evidence to refute Noble’s position.

(See Dkt. 55, 56.)

     Ali’s motion for sanctions was granted in part and denied in

part.    The memorandum opinion concluded that “Noble ha[d] played

a cat and mouse game in order to evade the jurisdiction of the

court,” noted that he had engaged in a “disingenuous and

ultimately ineffective . . . evasion of service,” Mem. Op. at 18
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& n. 4, and found that “Ali ha[d] incurred unnecessary costs and

prejudicial delay from Noble’s insupportable failure to respond

as required to the service of the summons and complaint.”          Id. at

19.   Noble’s attorney was admonished for his part in what

amounted “at least to a failure to conduct the required

reasonable inquiry under the circumstances and to restrict legal

contentions to those warranted by existing law.”         Id. at 18.

Noble was warned not to cause further delay with his baseless

claims that he had not been served, but no monetary sanctions

were imposed.   Noble was also ordered to submit a verified answer

to Ali’s complaint no later than January 17, 2006 or risk entry

of a default judgment.     Id. at 19.    Noble did not initially

comply with this order, but instead first submitted an unverified

answer.   (See Dkt. 60.)    This answer was ordered stricken and

Noble was ordered to comply in full with the court’s January 6,

2006 order.   Then, and only then, did Noble finally submit a

verified answer on January 24, 2006.       (See Dkt. 62, Ex. B.)

      After the January 26, 2006 memorandum opinion had issued but

before Noble had filed his verified answer, Ali filed a motion

for reconsideration regarding the denial of monetary sanctions,

seeking “all attorneys fees incurred in compelling Noble to

answer to the jurisdiction of this court.”        (Dkt. 58, Pl.’s Mot.
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for Recons. (“Mot. for Recons.”) at 1.)2          Her request includes

the cost of serving Noble the second and third times, seeking the

entry of default, and filing the motion for default judgment.

(See id. at 1.)       She also filed a motion to certify for

interlocutory appeal the court’s decision to permit Noble to file

a verified answer to avoid default judgment.           Noble has opposed

both the motion for certification and the motion for

reconsideration.       (See Dkt. 61, 62.)

                                  DISCUSSION

I.   SANCTIONS

     Rule 11(b) of the Federal Rules of Civil Procedure is

designed to ensure that factual contentions presented to the

court are warranted by the evidence and that legal contentions

are warranted by existing law or a nonfrivolous extension of

existing law.      See Fed. R. Civ. P. 11(b).       Rule 11(c) authorizes

sanctions against any party, whether or not represented, who is

responsible for any violation of Rule 11(b).           See Fed. R. Civ.

P. 11(c).

     The district court has the discretion to determine whether

the facts of the case warrant the imposition of sanctions.

Geller v. Randi, 40 F.3d 1300, 1304 (D.C. Cir. 1995).             In

determining whether to impose sanctions under Rule 11(b) or



     2
       Ali also filed a motion to certify an interlocutory
appeal. (See Dkt. 59.)
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11(c), the advisory committee notes that proper considerations

may include “whether the improper conduct was willful, . . .

whether it was part of a pattern of activity, . . . what effect

it had on the litigation process in time or expense; . . . [and]

whether the person responsible is trained in the law[.]”         Fed. R.

Civ. P. 11 advisory committee’s notes.

     Noble was a law student at the University of Pennsylvania

School of Law at the time he was first served and each time

thereafter.    (See Dkt. 62, Opp’n to Pl.’s Mot. for Recons.,

Ex. A, Aff. of Anthony L. Noble, Jan. 23, 2006.)        He failed to

respond after he was served by Ali not just once, but on three

separate occasions.    He elected to ignore repeated summonses and

the requirement of Federal Rule of Civil Procedure 12(a)(1)(A)

that he respond to the complaint within twenty days.        Noble

played a cat and mouse game in order to evade the jurisdiction of

the court, and his attempt to evade service was “disingenuous.”

His response to the show cause order was almost contemptuously

non-compliant.    Mem. Op. at 18 & n.4.    Noble’s pattern of evasion

was willful, deliberate, and sustained over a period of time.

     Noble’s conduct has caused unnecessary delay and expense in

this action.    Noble was initially under obligation to file a

responsive pleading within twenty days of being served with Ali’s

complaint on November 13, 2002.     He did not do so.     The first

answer Noble filed was more than four years past due.         His
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failure to respond as required by Rule 12 prompted Ali to incur

unnecessary expense by making two more attempts to serve him with

process.    Eventually, his non-response caused Ali to seek an

entry of default and prepare and file a motion for default

judgment.

     Then, when Noble filed his motion to vacate the clerk’s

entry of default on August 23, 2004, he incurred an obligation

under Local Civil Rule 7(g) to file a verified answer with his

motion.    See Local Civil Rule 7(g).    Noble failed to honor this

obligation in August 2004, again in December 2004 in response to

this court’s order dated November 24, 2004, and for a third time

in January 2006 in response to this court’s order dated

January 6, 2006.    Noble filed a verified answer only after three

court orders had issued, with one striking his noncompliant

answer.    Noble filed his verified answer seventeen months after

he incurred the obligation.

     Under these circumstances, monetary sanctions against Noble

are warranted.    His conduct was willful, deliberate and repeated,

and his quest to become an officer of a court of law should have

sharpened and not dulled his sensitivity to the impropriety of

his behavior.    His conduct substantially delayed the progress of

this case and caused unnecessary expense for the plaintiff.

Deterrence will be served best by requiring Noble to reimburse

Ali for the additional expenses incurred in countering his
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unwarranted attempts to evade this court’s jurisdiction.          See

Rule 11 advisory committee notes (noting that deterrence may be

more effective when the responsible party is directed not only to

make a monetary payment, but also requires some or all of the

payment to be made to the injured party).        Because of Noble’s

disingenuous conduct, Ali prepared and submitted several motions,

affidavits and exhibits that otherwise would have been

unnecessary.   These submissions include those associated with

following docket entry numbers:      33, 35, 42, 44, 50, 51, 55 and

56.   In addition, Ali was required to serve Noble twice

unnecessarily.   Noble will be held responsible for these

unnecessary expenses that were occasioned by his untenable

factual contentions and the untenable legal contentions spawned

by them.   Ali shall submit proof of costs related to preparing

and filing these submissions and the second two efforts to serve

Noble.

II.   CERTIFICATION

      Ali has asked this court to certify under 28 U.S.C.

§ 1292(b) the following question for interlocutory appeal:

whether a default judgment against Noble – – without a right to

file an answer – – should be entered.       Ali acknowledges that this

circuit strongly favors trials on the merits, but says she is

aware of no case in which a defendant has delayed answering for

nearly two years and responded only to a show cause order
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threatening default.   (See Dkt. 59, Pl.’s Mem. in Supp. of Mot.

for § 1292(b) Certification at 2.)      Noble opposes the motion,

arguing that there is no substantial difference of opinion on a

controlling issue of law.    (See Dkt. 61, Def.’s Opp’n to Pl.’s

Req. for Certification of Appeal at 3.)

     Any decision, not otherwise appealable, that “involves a

controlling question of law as to which there is substantial

ground for difference of opinion,” must be certified for an

interlocutory appeal if an immediate appeal might materially

advance the ultimate determination of the action.        28 U.S.C.

§ 1292(b).   The law in this circuit regarding default judgments

is clear and does not evince a substantial difference of opinion.

Default judgments are strongly disfavored when there is a

reasonable expectation that the action may be decided on the

merits.   “[T]he default judgment must normally be viewed as

available only when the adversary process has been halted because

of an essentially unresponsive party.”      Jackson v. Beech, 636

F.2d 831, 836 (D.C. Cir. 1980) (quoting H.F. Livermore Corp. v.

Aktiengesellschaft Gebruder Loepfe, 432 F.2d 689, 691 (D.C.

Cir. 1970)).   As the court of appeals has noted,

     [d]efault judgments are not favored by modern courts,
     perhaps because it seems inherently unfair to use the
     court’s power to enter and enforce judgments as a
     penalty for delays in filing. Modern courts are also
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     reluctant to enter and enforce judgments unwarranted by
     the facts.

Id. at 835.

     Ever since the motion for default judgment was filed and the

related show cause order issued in August 2004, Noble has not

been unresponsive.    In keeping with this circuit’s “strong

policies favoring the resolution of genuine disputes on their

merits,” id., Noble was permitted to file a verified answer to

avoid entry of default judgment.      Because a trial on the merits

is within reach, and because there is no substantial difference

of opinion in this circuit on whether a trial on the merits is

preferred to a default judgment, Ali’s motion for certification

under 28 U.S.C. § 1292(b) will be denied.

                        CONCLUSION AND ORDER

     Noble’s attempts to evade service and his four-year delay in

filing a required responsive pleading was willful and part of a

sustained pattern over time that needlessly delayed the progress

of this action and has caused unnecessary expense for Ali.             Now

that Noble has made an appearance and filed a verified answer,

there is a reasonable expectation that Noble’s liability for

Ali’s claimed injuries will be determined on the merits, a result

strongly favored over a default judgment.       Accordingly, it is

hereby

     ORDERED that Ali’s motion (Dkt. 58) for reconsideration of

this court’s order denying monetary sanctions be, and hereby is,
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GRANTED, and monetary sanctions will be imposed on Noble.

Counsel for Ali is directed to submit proof of the fees and

expenses incurred in twice serving Noble in Philadelphia and in

the filings related to the entry of default and the motion for

default judgment, as are noted above by docket number.         It is

further

     ORDERED that Ali’s motion (Dkt. 59) seeking certification of

an interlocutory appeal be, and hereby is, DENIED.

     SIGNED this 10th day of March, 2006.


                                                /s/
                                         RICHARD W. ROBERTS
                                         United States District Judge
